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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

DANIEL NOTESTEIN, BLOCKTRADES
INTERNATIONAL, LTD., ANDREW
CHANEY, SZYMON LAPINSKI, ADAM
DODSON, ELMER LIN, DANIEL
HENSLEY, MICHAEL WOLF, MATHIEU
GAGNON, and MARTIN LEES,

                      Plaintiffs/Counter-
                      Defendants,

         v.
                                                                Civil Action No.: 7:20CV00342


STEEMIT, INC.,

                       Defendant.
-------------------------------------------------------

BITTREX, INC.,

                      Cross-Plaintiff,
         v.

STEEMIT, INC.,

                       Third-Party Defendant
-------------------------------------------------------

                            ORDER REGARDING SETTLEMENT AND
                            DISBURSEMENT OF INTERPLEADER RES

         In connection with the Settlement Conference ordered by the Court (Dkt. No. 112),

Daniel Notestein, Blocktrades International, Ltd., Andrew Chaney, Szymon Lapinsky, Adam

Dodson, Elmer Lin, Daniel Hensley, Michael Wolf, Mathieu Gagnon, and Martin Lees

(collectively, “Plaintiffs”) and Steemit, Inc. (“Steemit”) have entered into a settlement agreement

that resolves their remaining disputes in this proceeding, specifically: (1) the interpleader action

initiated by Bittrex, Inc. (“Bittrex”) as to 8,752,313.006 of STEEM and 294.207 SBD

(collectively, the “Disputed Steem”) and (2) Plaintiffs’ conversion claim alleged against Steemit

related to the Disputed Steem.


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       Based on the settlement agreed to by Plaintiffs and Steemit, and otherwise for good cause

shown, it is HEREBY ORDERED that:

       1.      Bittrex is ORDERED to release and return 8,752,313.006 of STEEM and

294.207 of SBD to Plaintiffs, as directed by Plaintiffs, as soon as practicable, but no later than

twenty-one (21) days, following entry of this Order. Counsel for Bittrex and counsel for

Plaintiffs shall coordinate as to this disbursement.

       2.      Subject to written agreement of the Plaintiffs and Bittrex, the time provided for

disbursement may be extended up to fourteen (14) days without further Court order.

       3.      Once Plaintiffs and Bittrex agree that the above disbursements have been

completed in compliance with this Order, Bittrex shall file a Notice to this effect.

       4.      Within ten (10) days of the above Notice being filed by Bittrex, Plaintiffs and

Steemit shall submit an agreed order dismissing the Action in its entirety with prejudice pursuant

to Federal Rule of Civil Procedure 41(a)(2), with the Court to retain jurisdiction solely for

purposes of enforcing this Settlement Agreement.

       5.      In light of the release of the Disputed Steem to Plaintiffs as reflected herein, upon

the filing of the above Notice or the bond’s expiration on April 1, 2023, whichever occurs first:

(i) Bittrex shall be relieved from any further obligation to post or maintain an interpleader bond

as set forth in Section 2 of the Court’s Order on Bittrex’s Motion for Approval of Interpleader

Bond and Judgment of Interpleader (Dkt. No. 89) (the “Interpleader Order”); and (ii) the

obligations under posted Interpleader Bond No. SU1181409 (see Dkt. No. 90) shall be void. The

injunction issued by the Court in Section 6 of the Interpleader Order shall remain in full force

and effect and shall be permanent with respect to any claims arising out of or related to the

Disputed Steem.




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     Entered: March 7, 2023.


                                     /s/ Elizabeth K. Dillon
                                     Elizabeth K. Dillon
                                     United States District Judge




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